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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                        )
READY FOR RON                           )
66 W. Flagler Street                    )
Suite 900, #6781                        )
Miami, FL 33130                         )
                                        )
                            Plaintiff,  )
                                        )
                      v.                )
                                        )
FEDERAL ELECTION COMMISSION             )
1050 First Street, NE                   )
Washington, DC 20463 ,                  )
                                        )
                            Defendant.  )
_______________________________________ )

                                           COMPLAINT

        This is a remarkable case in which the Federal Election Commission (“FEC” or

“Commission”) seeks to prohibit literal, pure political speech. Ready for Ron (“RFR”) is a political

committee which seeks to draft Florida Governor Ron DeSantis as the Republican nominee for

President in the 2024 election. It has prepared a petition expressing support for Governor DeSantis

and encouraging him to become and/or remain a presidential candidate, running advertisements to

invite people to sign it. To date, over 80,000 of Governor DeSantis’ supporters have joined together

to sign the petition, either via the internet or by telephone.

        RFR wishes to provide its signed petition, including the names and contact information

provided by its signatories, to Governor DeSantis—a traditional form of political expression and

association. The Commission has issued an Advisory Opinion concluding the Federal Election

Campaign Act (“FECA”) prohibits RFR from doing so while Governor DeSantis is either “testing

the waters” or once he has become a candidate. However, the Commission was unable to reach a



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conclusion as to whether RFR may do so before Governor DeSantis begins testing the waters,

thereby depriving RFR of “safe harbor” status which would protect it from potential civil penalties

or criminal prosecution for engaging in such expressive association.

       The Commission has taken federal campaign finance law to an unconstitutional extreme.

Among other things, it distorts the FECA’s plain meaning by treating a signed political petition as

a “contribution.” It flatly ignores the U.S. Court of Appeals for the District of Columbia’s binding

ruling in Federal Election Comm’n v. Machinists Non-Partisan Political League, 655 F.2d 380

(D.C. Cir. 1981), holding the Commission may neither regulate efforts to draft federal candidates

nor regulate disbursements to individuals who are not yet federal candidates. It ignores the FECA’s

legislative history, throughout which the Commission repeatedly asked Congress to expand the

definition of “contribution” to include transfers made for the purpose of influencing someone to

become a federal candidate—proposals Congress has repeatedly declined to adopt. And, perhaps

most disturbingly, the Commission has exceeded the constitutional limits of its authority. The

Supreme Court has upheld the validity of limits on contributions to candidates specifically on the

grounds they entail only minimal restrictions on expression. It has never allowed the Commission

to prohibit pure political speech under the guise of contribution limits.

       Moreover, political committees operating online platforms for earmarked and conduit

political contributions already convey to actual and potential candidates precisely the same email

and phone information about contributors that the FEC’s advisory opinion restricts RFR from

providing under the instant Advisory Opinion. More than $2.5 billion dollars in political

contributions—more than a quarter of all political contributions, representing tens of millions of




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individual contributors and contributions—are made as earmarked contributions through just two

PACs, ActBlue and WinRed. 1

       When a person contributes to a current or potential candidate through either ActBlue or

WinRed, it collects the contributor’s phone number and e-mail address and passes it along to the

recipient candidate, even though it is not legally required to do so and the recipient candidate is

not required to report such information to the FEC. 2 It is perverse and offensive to free speech

principles that, if RFR were collecting $1 contributions through its online platform to forward to

a “draft” fund to encourage the candidacy and nomination of Governor DeSantis, that the

Commission would allow RFR to collect and forward the contributors’ phone numbers and e-mail

addresses, but deny RFR the right to do the same with the contact information of people who are

exercising their fundamental right to associate to engage in pure political speech by signing a

petition to Governor DeSantis without making a monetary contribution. This Court should reaffirm

and enforce the right of citizens to band together to express their support for a potential candidate

and attempt to persuade him to run for federal office.

       A signed political petition is pure political speech. The federal government may neither

prevent a draft committee from soliciting and gathering signatories’ names and contact information




1
    See PAC Profile: ActBlue, Open Secrets (last referenced Oct. 20, 2022),
https://www.opensecrets.org/political-action-committees-
pacs/actblue/C00401224/summary/2022; PAC Profile: WinRed, Open Secrets (last referenced
Oct.         20,       2022),          https://www.opensecrets.org/political-action-committees-
pacs/winred/C00694323/summary/2022.
2
  See ActBlue, A.O. 2014-19, at 4-5 (Jan. 15, 2015) (allowing ActBlue to accept contributions
made to “draft” candidates for federal office); see also Pro-Life Democratic Candidate PAC, A.O.
2019-11, at 2, 6 (July 25, 2019) (allowing a draft fund to accept conduit contributions to provide
to a pro-life Democratic presidential candidate who met certain “experience and endorsement
criteria” if one were drafted); ActBlue, A.O. 2006-30, at 6-7 (Nov. 9, 2006) (allowing ActBlue to
accept contributions for prospective Democratic presidential candidates).
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to attempt to persuade someone to run for office or remain a candidate for office, nor bar a potential

candidate’s supporters from associating together to express their political support for that person

by providing their names and contact information.

                                  JURISDICTION AND VENUE

         1.     This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 1331 and 2201,

because it arises under a federal statute and seeks, in part, declaratory relief.

         2.     Venue is proper in this Court under 28 U.S.C. § 1391 because Defendant is an entity

of the U.S. Government.

                                              PARTIES

         3.     Plaintiff READY FOR RON (“RFR”) is an unauthorized, non-connected hybrid

“draft” political committee 3 headquartered in Miami, Florida. It was formed to draft Florida

Governor Ron DeSantis as the Republican party’s nominee for President in 2024.

         4.     Defendant FEDERAL ELECTION COMMISSION (“FEC” or “the Commission”)

is an independent agency responsible for enforcing federal campaign finance law, including the

Federal Election Campaign Act (“FECA”). It is headquartered in Washington, D.C.

          READY FOR RON WISHES TO PROVIDE A SIGNED PETITION TO
        GOVERNOR DESANTIS TO ENCOURAGE HIM TO RUN FOR PRESIDENT

Background on Ready for Ron

         5.     Florida Governor Ronald Dion DeSantis (“Governor DeSantis”) is presently not a

candidate for President, a candidate for federal office, a federal officeholder, or testing the waters

with regard to such a candidacy under 11 C.F.R. § 100.72(a).




3
    See Carey v. FEC, 864 F. Supp. 2d 57 (D.D.C. 2002).
                                                   4
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        6.        RFR is a draft committee formed for the purpose of drafting Governor DeSantis as

a candidate for the Republican nomination for President in the 2024 election. It is not affiliated

with Governor DeSantis in any way and has not coordinated with him or his staff with regard to

the petition.

        7.       As a hybrid “Carey” PAC, RFR has both a traditional “hard money” account as

well as a non-contribution “Carey” account which may not be used to fund contributions, but may

be put toward independent expenditures.

                  a.     RFR accepts contributions to its “hard money” primary treasury account

subject to FECA’s prohibited source restrictions and contribution limits. See 52 U.S.C.

§ 30116(a)(1)(C), (a)(2)(C); FEC, Price Index Adjustments for Contribution and Expenditure

Limitations and Lobbyist Bundling Disclosure Threshold, 86 Fed. Reg. 7867, 7868 (Feb. 2, 2021).

                  b.    RFR also solicits and accepts unlimited contributions to its Carey account,

subject to the FECA’s prohibited source restrictions.

        8.       Neither RFR nor its agents are coordinating with Governor DeSantis, his

gubernatorial campaign, or any federal or state political committees authorized by Governor

DeSantis. To the extent RFR uses any common vendors with Governor DeSantis, it is requiring

firewalls as a “prophylaxis-upon-prophylaxis” measure. To the best of its knowledge, RFR does

not and will not employ any former employees or independent contractors of the DeSantis

gubernatorial campaign (or any potential future “testing the waters” or presidential campaign).

RFR’s Petition

        9.       RFR has created a petition to attempt to persuade Governor DeSantis to become

and remain a candidate for the Republican nomination for President in the 2024 election. RFR has

invited members of the general public who hold that same political belief to associate together to



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convey this political message through either RFR’s website or a dedicated phone line RFR

established.

       10.      Nationally renowned political strategist Ed Rollins, who served as Special Assistant

to three Presidents, publicized the launch of RFR and its petition in May 2022 through interviews

with national news programs.

       11.       RFR’s website, http://www.ReadyforRon.com, displays the text of the petition. It

provides users with an opportunity to electronically submit their name, phone number, e-mail

address, and zip code (collectively, “Signatory Information”) to be added to the petition. A person

is not required to provide all of that information, however. They may sign the petition so long as

they provide at least their name and e-mail address.

       12.      The page on which people enter their Signatory Information contains a message

stating, in relevant part, “I am Ready for Ron! Let Ron know I’m behind him and want to join his

team!” A notice at the bottom of the screen informs users by virtually signing the petition and

providing their information, they are requesting to have RFR provide it to Governor DeSantis.

       13.      RFR has also established telephone numbers people may call to “sign” the petition

by having their names and contact information added to it. When a person calls the number, a

recorded message invites them to join the petition if they wish to “Let Ron know, ‘I am Ready for

Ron!’” and that they are “behind him and want to join his team!’” It further notifies callers by

signing the petition, they are requesting to have their names and contact information provided to

Governor DeSantis.

       14.      In addition, RFR conducts “robocalls” in which it dials people’s phone numbers

and plays them a pre-recorded message about the petition, inviting them to sign it. A person may




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press “1” to request to have their name and contact information added to the petition and provided

to Governor DeSantis.

       15.     A person’s name and contact information will be added to the petition only if they

ask to sign the petition through RFR’s website(s) or phone number(s) designated for that purpose.

RFR has not and will not add anyone to the petition without their request and consent.

       16.     RFR’s petition has so far attracted more than 80,000 signatures.

       17.     RFR wishes to provide the signed petition, including the names and contact

information provided by its signatories, to Governor DeSantis. Depending on how quickly RFR is

able to amass signatures, as well as Governor DeSantis’ independent decisions and actions over

which RFR lacks control, RFR will wind up submitting the Petition either:

               a.       before Governor DeSantis begins “testing the waters” for a potential

presidential candidacy, see 11 C.F.R. § 100.72(a);

               b.       while Governor DeSantis is testing the waters; or

               c.       after Governor DeSantis has become a candidate for federal office.

       18.     As discussed below, the Commission has issued an advisory opinion concluding it

is illegal for RFR to provide the signed petition to Governor DeSantis while he is testing the waters

or a candidate. The Commission failed to reach a conclusion as to whether RFR may provide the

petition before Governor DeSantis begins testing the waters, thus depriving RFR of “safe harbor”

status for such activity, 52 U.S.C. § 30108(c)(1)(A), (2), and exposing RFR to the possibility of

administrative proceedings and potential sanctions before the Commission. In other words,

according to the Commission, there is no point in time at which RFR may legally provide its signed

petition to Governor DeSantis.




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       19.     After submitting the petition to Governor DeSantis, RFR wishes to continue

encouraging him to become or remain a candidate by submitting subsequent communications to

him reiterating support for his candidacy, accompanied by the names and contact information of

new signatories.

       20.     The petition contains signatories’ names and contact information for numerous

reasons:

               a.     including names and contact information is traditional for political petitions,

including most candidacy petitions required by state law;

               b.     signatories have a fundamental First Amendment right to reveal their

identities rather than being compelled to engage in anonymous joint speech, See McIntyre v. Ohio

Elections Comm’n, 514 U.S. 334, 342 (1995);

               c.     providing signatories’ contact information helps establish the authenticity

of the signatures and allows Governor DeSantis to confirm they are not fraudulent;

               d.     providing signatories’ contact information helps to demonstrate the

seriousness and dedication of the signatories precisely through their willingness to identify

themselves in greater detail beyond a name; and

               e.     in the event Governor DeSantis decides to begin testing the waters either

before or after receiving the signed petition, the Commission’s precedents would allow him to

gather more information from his potential supporters as part of his “deliberative process of

deciding to become a candidate.” Askew, A.O. 1981-32, at 5 (Oct. 2, 1981).

RFR Invited Governor DeSantis’ Supporters to Sign the Petition
       21.     RFR has run television, internet, and social media advertisements, in addition to

sponsoring outbound robocalls, to notify people about the petition and invite them to sign it. One

of the advertisements expressly exhorts viewers, “Call [PHONE NUMBER] and Press 1. Draft

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Ron DeSantis in 2024.” A voiceover states in relevant part, “Please call [PHONE NUMBER] and

Press 1 to sign our pledge of support to draft Ron DeSantis to run in 2024.”

       22.     The audio disclaimer at the end of the video advertisements states, “Paid for by

Ready for Ron, which is responsible for the content of this message.” A written disclaimer

displayed at the bottom of the screen at the end of the advertisement reiterates, “PAID FOR BY

READY FOR RON, NOT AUTHORIZED BY ANY CANDIDATE OR CANDIDATE

COMMITTEE.”

       23.     RFR has also invited potential supporters to sign the petition through e-mail. It has

rented distribution lists to send e-mails to potential DeSantis supporters, encouraging them to visit

RFR’s website and add their name to the petition. These e-mails also contain the written

disclaimer, “PAID FOR BY READY FOR RON, NOT AUTHORIZED BY ANY CANDIDATE

OR CANDIDATE COMMITTEE.”

       24.     All of RFR’s past, ongoing, and concretely intended future advertising urge, or will

urge, viewers to either call RFR’s phone number or visit its website to sign the petition.

       25.     RFR has spent approximately $25,000-50,000 each week on advertisements, and

intends to continue doing so through the 2024 election. It has drawn, and will continue to draw,

these funds from both its hard-money and non-contribution Carey accounts.

       26.     As of October 18, 2022, RFR has gathered over 80,000 signatures for its petition.

Each signature includes the name and, at a minimum, either e-mail address or phone number of

each signatory. As alleged below, the Commission’s Advisory Opinion improperly, illegally, and

unconstitutionally deems the list of petition’s signatories to be equivalent to a mailing list or

contributor list. See Exh. 11 at 5-8. At an approximate fair-market value of $0.05 per entry, the

Commission would assign a cash-equivalent value of over $2,900 to the signed petition. Under the



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Commission’s advisory opinion, RFR would violate the $2,900 limit on contributions from a non-

multicandidate political committee to a candidate by providing the signed petition to Governor

DeSantis, either while he is testing the waters for a potential candidacy or once he becomes a

candidate. The Commission has declined to reach an opinion as to whether RFR may provide the

signed petition to Governor DeSantis before he begins testing the waters, despite the absence of

any applicable statutory prohibition.

       27.     RFR wishes to be able to provide the signed petition to Governor DeSantis,

including the names and contact information for its signatories, at a time of its choosing, regardless

of whether Governor DeSantis has started testing the waters (or is deemed by the Commission to

have begun testing the waters) or becomes a candidate. It does not wish to be effectively compelled

to provide the petition to Governor DeSantis as soon as possible, before he has begun testing the

waters. RFR likewise wishes to provide supplements and updates to the petition to Governor

DeSantis in the future by providing the names and contact information of additional signatories,

regardless of whether Governor DeSantis is testing the waters or is a candidate at the time.

                THE FEC’S ADVISORY OPINION PROHIBITS RFR
              FROM ENGAGING IN PURE POLITICAL SPEECH AND
         VIOLATES ITS RIGHT OF EXPRESSIVE POLITICAL ASSOCIATION

       28.     Out of an abundance of caution because it is seeking to exercise its rights within an

aggressively regulated area of constitutionally protected activity, RFR submitted an advisory

opinion request with the Commission in late May to confirm the permissibility of its intended and

ongoing actions. A true and complete copy of RFR’s advisory opinion request is attached as

Exhibit 1.

       29.     RFR’s advisory opinion request included the following inquiries:

       ●       May [RFR] provide its Petition, along with the accompanying list of over
               58,000 signatories and their Signatory Information, to Ron DeSantis to

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                 attempt to persuade him to become a candidate for the Republican
                 nomination for President in 2024?
       ●         Assuming the answer to #1 is “yes,” must [RFR] do so, if at all, before
                 DeSantis:
                 ○      starts testing the waters to become a candidate for the office of
                        President, or

                 ○      becomes a candidate for the office of President?

Exh. 1 at 4.
       30.       After the Federal Election Committee circulated two potential draft responses,

RFR submitted a comment in response. A true and complete copy of RFR’s comment is attached

as Exhibit 2.

       31.       On September 15, 2022, the Commission held a public hearing on its potential

draft responses, but declined to adopt either of them. A video of the hearing is available at

https://www.youtube.com/watch?v=BWfuTD46wwM. During the hearing, Commissioners asked

RFR to provide precedents that “a mailing list would not be a thing of value.” Id. at 8:18-8:24.

       32.       Toward the end of the hearing, the Commission indicated it would be preparing a

new Draft C of an advisory opinion for RFR for consideration, and RFR expressly requested the

opportunity to comment on Draft C. Id. at 58:40-59:00. The next day, RFR reiterated its request

by e-mailing a letter to the Commission, “respectfully request[ing] the opportunity to submit

comment on any such new draft advisory opinion,” and “take such opportunity to respond to

several of the new issues that various commissioners raised during the hearing.” A true and

complete copy of RFR’s request is attached as Exhibit 3.

       33.       On Wednesday, September 21, FEC Attorney Heather Filemyr e-mailed RFR

requesting a “14-day extension” of the Commission’s deadline for providing an advisory opinion,

until October 5, 2022. A true and complete copy of the email from Filemyr to RFR, and the


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affirmative reply from RFR to Filemyr is attached as Exhibit 4. The e-mail expressly noted, “The

Commission’s next open meeting is scheduled for September 29.” Id.

       34.     The Commission subsequently prepared and circulated a third potential draft

advisory opinion, labeled Draft C. The document is identified as an “AGENDA ITEM For meeting

of September 29, 2022.” It is labeled “AGENDA DOCUMENT NO. 22-36-C.” On September 26,

2022, Heather Filemyr e-mailed a copy of Draft C to RFR. Her cover e-mail stated the Commission

“is accepting public comments until noon on September 28.” She added, “For the open meeting

on Thursday, you’ve let us know that Mr. Backer will attend in person. Do you also plan to attend

online?” A true and complete copy of Draft C; the cover sheet identifying it as an agenda item for

the Commission meeting of September 29, 2022; and the cover e-mail from Heather Filemyr to

RFR transmitting Draft C, are attached as Exhibit 5.

       35.     The Sunshine Act notice for the September 29, 2022 meeting listed “Draft Advisory

Opinion 2022-12: Ready for Ron” as a “MATTER[] TO BE CONSIDERED.” A true and complete

copy of the Sunshine Act notice for the September 29, 2022, hearing is attached as Exhibit 6.

       36.     On September 27, 2022, RFR submitted a 25-page comment in response to Draft C,

identifying numerous legal authorities the draft directly contravened, providing the requested

precedents in support of its position, and responding to many of the concerns raised at the hearing.

A true and complete copy of RFR’s second comment is attached as Exhibit 7.

       37.      Completely indifferent to the legality of its conclusions, the FEC arbitrarily and

capriciously ignored RFR’s comment while simultaneously cancelling public consideration of

RFR’s Advisory Opinion without warning. Rather, on September 27, the Commission circulated

a revised version of Draft C for a private written 24-hour “tally vote.” The public received no

advance notice of this revised version, and the Commission did not solicit, accept, or receive any



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public comment on it. The tally vote was conducted behind closed doors and without further

hearing or internal debate, to conclude by September 28 at 3:00 P.M. A true and complete copy of

the Commission’s tally vote memorandum is attached as Exhibit 8.

       38.     Upon learning of the Commission’s plan, RFR immediately e-mailed a letter

notifying the Commission about the new authorities identified in its September 27 comment and

“respectfully request[ing] the opportunity to appear before the Commission at a public hearing

concerning the Commission’s new draft advisory opinion, Draft C.” At the time, RFR was unaware

the Commission had revised Draft C and was voting on a version that differed from the one the

Commission had publicly circulated earlier. A true and complete copy of RFR’s letter, along with

the cover memorandum the Commission’s Secretary appended when circulating that letter to

Commission members, is attached as Exhibit 9. The cover memorandum from the Commission’s

Secretary declared, “This item is on the agenda for the Open Meeting of September 29, 2022.” Id.

       39.     On September 28, 2022—the day before the scheduled public hearing on Draft C—

the Commission concluded its paper tally vote and approved Draft C as its advisory opinion

without a public hearing on either the publicly circulated version or the secretly revised version of

the draft. A true and complete copy of the Commission’s certification concerning the vote is

attached as Exhibit 10.

       40.     By its own admission, the Commission blithely rubber-stamped Draft C as its

advisory opinion, thereby arbitrarily and capriciously ignoring RFR’s Public Comment of

September 27, its follow-up summary and request to appear of September 28, and the legal

authorities those submissions contained. Rather, the Commission completely denied RFR a

hearing on Draft C. The advisory opinion the Commission adopted states it is based only on

“[RFR’s] letters dated May 25 and August 29, 2022, [its] emails dated June 17 and September 14,



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2022, disclosure reports filed with the Commission, and publicly available information.” Ready

for Ron, Advisory Opinion 2022-12, at 1 (Sept. 28, 2022). A true and complete copy of the

Advisory Opinion the Commission adopted is attached as Exhibit 11.

       41.      The Advisory Opinion began by declaring RFR would be making an in-kind

contribution to DeSantis by providing the signed petition to him once he becomes a candidate.

Exh. 11 at 5. The FECA defines “contribution” as “any gift . . . of money or anything of value

made by any person for the purpose of influencing any election for Federal office.” 52 U.S.C.

§ 30101(8)(A)(i) (emphasis added).

               a.      The Commission did not address whether providing a signed petition to a

potential candidate or candidate constitute a “gift” for purposes of that definition.

               b.      The Commission concluded the petition constituted a “thing of value”

because the contact information for the signatories, if purchased on the open market, had a

potential commercial value. Exh. 11 at 5. The Commission further noted that its regulations and

past advisory opinions treated contributor lists, distribution lists, and mailing lists as “things of

value” and therefore “contributions.” Id. at 5-6 (citing 11 C.F.R. § 100.52(d)(1)). The Commission

simply assumed RFR’s signed petition should be treated the same as those other types of lists

without considering any of its materially distinguishing characteristics, including: (i) the petition

conveys a constitutionally protected political message, while the other types of lists do not; (ii)

each signatory on the petition has affirmatively asked to have their name and contact information

be appended so they could engage in constitutionally protected speech and association, while

people may have their information included on other types of lists without their knowledge and

consent; and (iii) barring RFR from conveying the signed petition interferes with Governor




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DeSantis’ First Amendment right to receive political communications in a way restrictions on other

types of lists do not.

        42.     The Commission then concluded, based on a conservative estimate of 0.05 cents

for each signatory’s name and accompanying contact information, that providing a signed petition

with the names and contact information for at least 58,000 signatories to Governor DeSantis after

he becomes a candidate would constitute an illegal excessive contribution, because its value would

exceed $2,900. Exh. 11 at 6.

        43.     The Commission went on to declare, under its “testing the waters” regulation, 10

U.S.C. § 100.72, it is likewise illegal to provide the signed petition to Governor DeSantis even

before he becomes a candidate, while he is “testing the waters.” Exh. 11 at 8 (“[I]f Governor

DeSantis were to begin testing the waters for a potential federal candidacy, and were RFR to

provide its petition with the names and compiled contact information to him, the petition and

contact information must comply with the amount limitations and source prohibitions of the Act.”).

        44.     Finally, the FEC concluded RFR may not fund its petition-gathering activities from

its non-contribution Carey account, since providing the petition to Governor DeSantis would

constitute a “contribution.” Exh. 11 at 9-10.

        45.     The Commission could not reach a conclusion as to whether RFR may provide its

signed petition to Governor DeSantis “when Governor DeSantis is neither testing the waters nor a

federal candidate.” Exh. 11 at 1.

         THE COMMISSION’S ADVISORY OPINION VIOLATES THE RIGHTS
                OF RFR AND THE PETITIONS’ SIGNATORIES

The Commission’s Advisory Opinion Violates the Constitution

        46.     The Commission’s advisory opinion did not consider any constitutional problems

with its conclusions.

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       47.     The First Amendment does not allow the FEC to prohibit pure political speech and

expressive political association by banning RFR from providing a signed petition containing its

signatories’ contact information to Governor DeSantis to attempt to persuade him to become

and/or remain a candidate.

       48.     The U.S. Supreme Court has held contribution limits are generally subject only to

intermediate (or “exacting”) scrutiny and are valid because they typically “entail[] only a marginal

restriction upon the contributor’s ability to engage in free communication.” Buckley v. Valeo, 424

U.S. 1, 20-21 (1976) (per curiam).

               a.       Buckley explained, “A contribution serves as a general expression of

support for the candidate and his views, but does not communicate the basis for the underlying

support. . . . [T]he expression rests solely on the undifferentiated, symbolic act of contributing. At

most, the size of the contribution provides a very rough index of the intensity of the contributor’s

support for the candidate.” Buckley, 424 U.S. at 21.

               b.       The Court further emphasized contribution limits “involve[] little direct

restraint on . . . political communication” because they do “not in any way infringe the

contributor’s freedom to discuss candidates and issues.” Buckley, 424 U.S. at 21.

       49.     This rationale for allowing contribution limits is inapplicable where the supposed

contribution is, itself, political speech, such as the signing of a petition expressing ones views. The

Supreme Court has never allowed contribution limits to be applied to prohibit pure political speech

by American citizens.

       50.     Under the First Amendment, the Commission may not bar RFR from providing a

petition to Governor DeSantis encouraging him to run for President, simply because it contains




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the names and addresses of its signatories. Federal campaign finance law does not require

anonymous political speech.

       51.     Joining together in a petition to express a political sentiment is itself a fundamental,

time-honored form of political association. Citizens Against Rent Cont./Coalition for Fair Hous.

v. Berkeley, 454 U.S. 290, 294 (1981).

       52.     Just as individuals have the right to write to Governor DeSantis to encourage him

to run for President—and provide their return address when doing so—they have the right to join

together in a petition to jointly convey the same message.

       53.     The FEC’s refusal to issue an advisory opinion recognizing RFR’s right to provide

its signed petition or supplemental updates to Governor DeSantis at any point—before he begins

testing the waters, while he is testing the waters, or if he becomes a candidate—is an

unconstitutional burden on the First Amendment rights of RFR and the petition’s signatories to

engage in pure political speech and expressive political association.

       54.     The FEC’s refusal to allow RFR to use funds from its non-contribution Carey

account to fund advertisements to notify people about its petition and invite them to sign it likewise

prohibits pure political speech in violation of the First Amendment.

       55.     The Supreme Court has recognized individuals, Buckley v. Valeo, 424 U.S. 1, 45

(1976) (per curiam), and political committees, FEC v. Nat’l Conservative Political Action Comm.,

470 U.S. 480, 497 (1985), have a fundamental First Amendment right to make unlimited

independent expenditures. See also Citizens United v. FEC, 558 U.S. 310 (2010). The courts of

this district have likewise recognized a political committee may accept unlimited contributions to

a special segregated account which may be used only for the purpose of funding independent

expenditures and may not be used for contributions. See Carey v. FEC, 791 F. Supp. 2d 121, 131-



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132 (D.D.C. 2011); see also Speechnow.org v. FEC, 599 F.3d 686, 695-96 (D.C. Cir. 2010) (en

banc). Accordingly, the First Amendment protects RFR’s right to spend whatever funds it wishes

from its non-contribution Carey account to engage in political speech, by both inviting people to

sign its political petition and then providing that signed petition to Governor DeSantis.


The Commission’s Advisory Opinion is Inconsistent with Binding D.C. Circuit Precedent

       56.     In Federal Election Comm’n v. Machinists Non-Partisan Political League, 655

F.2d 380, 394 (D.C. Cir. 1981) [hereinafter, “Machinists”], the U.S. Court of Appeals for the D.C.

Circuit refused to read the FECA to “imply coverage” for groups seeking to “draft” individuals to

serve as federal candidates.

       57.     The D.C. Circuit held, “Draft groups . . . aim to produce some day a candidate

acceptable to them, but they have not yet succeeded. Therefore none is promoting a ‘candidate’

for office, as Congress uses that term in FECA.” Machinists, 655 F.2d at 392. Moreover, because

a draft committee’s activities “are not related in any way to a person who has decided to become

a candidate,” it has no “potential for corruption” that has been “specifically identified by

Congress.” Id. (emphasis added)

       58.     Machinists repeatedly emphasized the difference between “activities [to] support

an existing ‘candidate’” and “attempts to convince the voters or [the individual himself] that he

would make a good ‘candidate’ or should become a ‘candidate.’” 655 F.2d at 396. Since a person

who has not yet qualified as a candidate—including a person who may be “testing the waters”—

is (by definition) not a candidate, disbursements made in the course of attempting to convince him

“that he would make a good ‘candidate’ or should become a ‘candidate’” cannot raise a potential

for corruption, cannot qualify as “contributions” under FECA, and therefore are not subject to

regulation by the Commission. Id.

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       59.     Moreover, the Supreme Court has expressly emphasized preventing actual or

apparent corruption are the only constitutionally permissible justifications for contribution limits.

McCutcheon v. FEC, 572 U.S. 185, 191 (2014) (plurality op.). Given the D.C. Circuit’s binding

conclusions concerning the absence of corruption in efforts to draft a potential federal candidate,

the First Amendment bars the Commission from applying contribution limits – particularly to that

which is pure speech and not a contributed “thing” - to prevent RFR from providing its signed

petition to Governor DeSantis.


The Commission’s Advisory Opinion is Inconsistent with FECA’s Legislative History

       60.     Both the Commission and Congress has previously recognized the FECA does not

reach draft efforts, including payments made in connection with attempts to persuade someone to

become a federal candidate. Over the years, the Commission has urged Congress to adopt

amendments expanding the FECA’s scope to cover such activities, and Congress has repeatedly

considered such amendments. None of them, however, have been adopted. The Commission’s

advisory opinion interprets and applies FECA as if those unsuccessful statutory amendments had

actually been adopted.

       61.     Throughout the 1970s, the Commission repeatedly cautioned draft committees are

not covered by FECA, and disbursements made for the purpose of inducing someone to run for

federal office could not be “contributions” because the recipient was not yet a “candidate.”

       62.     In 1976, the FEC recommended Congress change the law to specify someone who

contributes to a draft committee knowing a “substantial portion” of the contribution “will be

expended on behalf of a clearly identified individual . . . be considered to have made a contribution

to a ‘candidate.’” FEC, Annual Report 1976, at 75 (quoted in Machinists, 655 F.2d at 395),

https://www.fec.gov/resources/cms-content/documents/ar76.pdf.

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       63.     In 1987, the Commission asked Congress to expand the definition of “contribution”

to include funds provided in the course of attempting to influence a person to run for federal office.

See FEC, Legislative Recommendations—1987, reprinted in House Subcomm. on Elections,

Comm. on House Admin., Hearings on Campaign Finance, 100th Cong., 1st Sess., at 869 (May

21, June 2, June 16, June 30, and July 14, 1987) (suggesting Congress amend the definitions of

“contribution” and “expenditure” to include “funds contributed by persons ‘for the purpose of

influencing a clearly identified individual to seek nomination for election or election to federal

office’”). The Commission warned these changes were necessary because “a nonauthorized group

organized to support someone who has not yet become a candidate may operate completely outside

the strictures of the Federal Election Campaign Act.” Id.

       64.     Throughout the early 1990s, Congress repeatedly considered legislation to redefine

the terms “contribution” and “expenditure” in FECA to include payments or disbursements “for

the purpose of expressly advocating that a clearly identified individual become a candidate for

Federal office.” H.R. 708, 103rd Cong., § 8(a)(3) (Feb. 2, 1993); S.7, 103rd Cong., § 422(a) (Jan.

21, 1993); H.R. 4934, 102nd Cong., § 504(a) (Apr. 9, 1992); S.6, 102nd Cong., § 622(a) (Apr. 11,

1991); S.143, 102nd Cong., § 422(a) (Jan. 14, 1991); S.2595, 101st Cong., § 422(a) (May 12,

1990); see also S. Comm. on Rules & Admin., Hearings on Proposed Amendments to the Federal

Election Campaign Act of 1971, S. Hrg. 99-709, at 122, 303, App. 1F, at 272 (Nov. 5, 1985; Jan.

22 & Mar. 27, 1986) (reprinting S. 1891, 99th Cong., § 3(a), 3(d) (Dec. 3, 1985) (amending 2

U.S.C. §§ 431(8)(A)(i), 431(9)(A)(i))) (redefining “contribution” and “expenditure” to include

payments or disbursements “for the purpose of expressly advocating that a clearly identified

individual become a candidate for Federal office”).




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       65.     In the course of drafting the Bipartisan Campaign Reform Act (“BCRA”), Pub. L.

No. 107-155 (Mar. 27, 2002), Congress expressly considered and rejected the possibility of

limiting disbursements to a person for the purpose of influencing them to become a federal

candidate. In 1999, Representative Steny Hoyer, who is presently Majority Leader of the U.S.

House of Representatives, introduced the FEC Reform and Reauthorization Act of 1999, H.R.

1818, 106th Cong. (May 14, 1999), as part of Congress’ effort to amend the FECA.

               a.     Section 106(a)(1) of his bill would have amended the definitions of

“contribution” to include “any gift, subscription, loan, advance, or deposit of money or anything

of value made by any person for the purpose of influencing any clearly identified individual to

seek nomination or election to Federal office.” H.R. 1818, 106th Cong., § 106 (May 14, 1999)

(emphasis added).

               b.     The bill similarly would have amended the definition of “expenditure” to

include any “purchase, payment, distribution, loan, advance, deposit, or gift” made for that

purpose. H.R. 1818, 106th Cong., § 106(a)(2) (May 14, 1999).

       66.     Congress never adopted any of the proposed language defining the terms

“contribution” and “expenditure” to extend to disbursements made in connection with efforts to

influence a person to seek nomination or election to federal office. RFR’s provision of its signed

petition to Governor DeSantis therefore should not be deemed a “contribution.”


A Signed Petition is Not a “Contribution” Subject to Limits Under FECA

       67.     The FEC further erred in concluding RFR’s signed petition constitutes a

“contribution” subject to limits under the FECA.




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          68.     The FECA defines “contribution” as “any gift . . . of money or anything of value

made by any person for the purpose of influencing any election for Federal office.” 52 U.S.C.

§ 30101(8)(A)(i) (emphasis added); 11 C.F.R. § 100.52(a) (emphasis added).

          69.     The signed petition is not a contribution because it does not qualify as a “gift”

within the colloquial meaning and ordinary usage of the term. Cf. In re McDonald for Congress,

A.O. 1976-86, at *1 (Oct. 6, 1976) (determining whether an act constitutes a “gift” primarily based

on the industry’s customary practice). Pure political speech, which lies at the heart of the First

Amendment, is not ordinarily characterized as a “gift,” and therefore does not constitute a

“contribution” under § 30116(8)(A)(i). See, e.g., Brunswick Corp., A.O. 1984-43, at *2 (Sept. 14,

1984) (“[T]he endorsement of a candidate by a corporation does not by itself constitute a prohibited

contribution . . . .”). This conclusion remains true whether the speech takes the form of oral

statements, voice recordings, letters from individual supporters, or a political petition signed by

tens of thousands of a candidate’s identified supporters. If RFR could organize tens of thousands

of people to join together outside of Governor DeSantis’ window to croon for his candidacy, they

have the right to do so through a signed petition. Speech does not become a contribution simply

because it is embodied in written form.

          70.     Independently, another reason the signed petition is not a contribution is because

it does not constitute a “thing of value.” The regulation defining “thing of value” provides, “[T]he

provision of any goods or services without charge or at a charge that is less than the usual and

normal charge for such goods or services is a contribution.” 11 C.F.R. § 100.52(d)(1) (emphasis

added).

                  a.     A list of signatories accompanying a petition is neither a “good” nor a

“service” within the ordinary understanding of those terms. Cf. Assoc. Buildings & Contractors,



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A.O. 1984-23, at 2 (June 22, 1984) (ruling, prior to Citizens United, a corporation or labor union

may “endorse a candidate and may publicly announce its endorsement and state the reason or

reasons for it,” regardless of whether the endorsement is valuable, because it does not constitute a

contribution).

                 b.     Moreover, under this regulation’s plain terms, a good or service must carry

a usual and normal charge” for it to constitute “anything of value” and qualify as a contribution.

11 C.F.R. § 100.52(d)(1). Signed petitions are customarily provided to public figures free of

charge; they are not regarded as “goods” or “services” for which the recipient must typically pay.

       71.       To the extent any doubt exists as to whether the signed petition should be deemed

a “contribution,” the FECA should be construed narrowly due to:

                 a.     the constitutional avoidance doctrine, which counsels this court to avoid

construing laws in ways that raise serious First Amendment questions unless there is no other

choice, Nat’l Labor Relations Bd. v. Catholic Bishop of Chicago, 440 U.S. 490, 507 (1979);

                 b.     the major questions doctrine, which requires courts to reject agency

interpretations of statutes that unnecessarily raise serious political questions Congress would not

have intended to sub silentio allow agencies to resolve, W. Va. v. EPA, 142 S. Ct. 2587, 2614

(2022), such as the FEC’s advisory opinion construing the FECA to prohibit political petitions;

and

                 c.     the rule of lenity, which requires courts to resolve ambiguities in civil

statutes that carry the possibility of criminal enforcement, such as the FECA, in favor of the

regulated party, which here would be RFR, see Cleveland v. United States, 531 U.S. 12, 25 (2000).


The FECA Does Not Empower the FEC to Regulate Transfers or Gifts
to Non-Candidates, Regardless of Whether They are “Testing the Waters”



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       72.     The FECA does not allow the Commission to regulate disbursements to persons

who are not candidates, regardless of whether such non-candidates have begun testing the waters.

       73.     FECA limits the amount of a “contribution” from a person, including a non-

multicandidate political committee such as RFR, to a “candidate.” 52 U.S.C. § 30116(a)(1)(A); 11

C.F.R. § 110.1(b)(1); see 86 Fed. Reg. at 7869. A person may provide no more than $2,900 per

election to a candidate. Id. The FECA defines “candidate,” in turn, as a person who is seeking

nomination or election to federal office and has exceeded $5,000 in “contributions” or

“expenditures.” 52 U.S.C. § 30101(2); 11 C.F.R. § 100.3(a).

       74.     No provisions of federal law or regulations limit disbursements or transfers to

individuals who have not yet begun testing the waters. There is no legal basis upon which the

FEC’s advisory opinion refused to affirm RFR’s right to share its signed petition to Governor

DeSantis before he begins testing the waters.

       75.     Although FEC regulations purport to restrict disbursements to individuals who are

“testing the waters,” see 11 C.F.R. § 100.72(a), no statutory authority exists for them. The FECA

does not impose limits on contributions to individuals who are not candidates, but are merely

testing the waters. As explained above, 52 U.S.C. § 30116(a)(1)(A)’s contribution limits apply

only to disbursements to “candidates.” Accordingly, to the extent 11 C.F.R. § 100.72(a) is

interpreted to limit contributions to non-candidates who are testing the waters, it is arbitrary,

capricious, contrary to law, invalid, and unenforceable.

       76.     Furthermore, on its face, the “testing the waters” regulation applies only to “funds”

received by a person “for the purpose of determining whether [he or she] should become a

candidate.” 11 C.F.R. § 100.72(a). The regulation is far narrower than the statutory and regulatory

definition of “contribution” which expressly includes gifts of either “money” or “anything of



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value.” 52 U.S.C. § 30101(8)(A)(i); 11 C.F.R. § 100.52(a). There is no language in the testing the

waters regulation purporting to regulate the provision of anything other than “funds.” Nothing in

the regulation purports to regulate in-kind gifts or transfers of any sort to a person who is testing

the waters. Accordingly, there is no legal basis for the Commission to attempt to limit in-kind

contributions to non-candidates who are merely testing the waters.

       77.     Finally, the “testing the waters” regulation, as construed by the Commissioners in

this case, fails to give adequate warning to a reasonable person as to whether Governor DeSantis

is deemed to be “testing the waters” for a potential candidacy at any particular point in time. A

person is “testing the waters” under the regulation if that person is “determining whether [he or

she] should become a candidate.” 11 C.F.R. § 100.72(a). Under this ill-defined and highly

subjective standard, it is impossible for the Commission to determine whether public figures who

have repeatedly affirmed an intent to run for President in 2024, such as the incumbent President

Joseph Biden, are “testing the waters.” 4 In the context of this case, several Commissioners

emphasized during the Commission’s September 15, 2022 hearing the difficulty of determining

under the Commission’s vague and subjective standard whether Governor DeSantis—even at that

time—was “testing the waters.”



4
   See, e.g., Brett Samuels, Biden Says He Intends to Run in 2024, Has Not Made a “Firm
Decision,” THE HILL (7:49 P.M. ET, Sept. 18, 2022) (quoting President Biden as saying, “Look,
my intention as I said to begin with is that I would run again. . . . But it’s just an intention. But is
it a firm decision that I run again? That remains to be seen.”), https://thehill.com/homenews/
administration/3649720-biden-says-he-intends-to-run-in-2024-has-not-made-a-firm-decision/;
Sebastian Smith, Biden Warns China and Russia, Hedges on Seeking Reelection, BARRON’S (Sept.
18, 2022) (explaining Biden “surprised many by hedging on whether he’ll seek reelection”),
https://www.barrons.com/news/biden-hedges-on-seeking-reelection-01663552807; see also Carol
E. Lee, et al., Biden Aides are Quietly Assembling a 2024 Campaign as They Await a Final
Decision       on    His     Political     Future,     FOX      NEWS         (Sept.      16,     2022),
https://www.nbcnews.com/politics/joe-biden/biden-aides-are-quietly-assembling-2024-
campaign-await-final-decision-rcna48005.

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               a.      Chair Dickerson suggested it is “unknown” and “speculative” whether

Governor DeSantis was already “testing the waters,” even before receiving RFR’s signed petition,

because the Commissioner has not “read every possible press report.” See Video of Sept. 15, 2022

FEC      Hearing,      at     35:35      to     35:55     (suggesting)      (Chair     Dickerson),

https://www.youtube.com/watch?v=BWfuTD46wwM.

               b.      Commissioner Weintraub later suggested “you don’t know whether

[Governor DeSantis] is testing the waters or not.” Id. at 52:44 to 53:56.

               c.      Commissioner Broussard declared merely by accepting the signed petition,

Governor DeSantis would be deemed to be “testing the waters.” Id. at 46:53 to 47:02.

The Commission’s Advisory Opinion is Inconsistent
with FECA’s Provisions for Conduit Contributions

       78.      To the extent the names and contact information of the petition’s signatories are

deemed to be “contributions” to Governor DeSantis, the source of the contributions are the

signatories themselves, with RFR acting as a conduit to provide them to Governor DeSantis.

Accordingly, RFR is not making an illegal excessive contribution by providing signatories’

information, at their request and on their behalf, to Governor DeSantis.

       79.     The FECA specifies, “[A]ll contributions made by a person, either directly or

indirectly, on behalf of a particular candidate, including contributions which are in any way

earmarked or otherwise directed through an intermediary or conduit to such candidate, shall be

treated as contributions from such person to such candidate.” 52 U.S.C. § 30116(a)(8).

       80.     RFR adds a person’s name and contact information to the petition only if they

affirmatively ask to sign the petition through RFR’s website or phone number. RFR has not and

will not add anyone to the petition without the signatory’s request and consent, and will not append

any information beyond that voluntarily provided by each signatory.

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       81.     RFR’s website invites a person to sign the petition to declare, “I am Ready for Ron!

Let Ron know I’m behind him and want to join his team!” A notice at the bottom of the screen

informs users that by virtually signing the petition and providing their information, they are

requesting to have RFR provide it to Governor DeSantis.

       82.     Likewise, when a person calls RFR’s telephone number to sign the petition, a

recorded message invites them to join the petition if they wish to “Let Ron know, ‘I am Ready for

Ron!’” and that they are “behind him and want to join his team!’” This message notifies callers

that by signing the petition, they are requesting to have their names and contact information

provided to Governor DeSantis.

       83.     RFR only adds people’s names and contact information to the petition to provide

to Governor DeSantis at their request. The only signatory information RFR appends to the petition

is whatever contact information each signatory him- or herself decides to provide to be appended

and sent to Governor DeSantis. If provision of such information constitutes an in-kind

contribution—a position with which RFR strenuously disagrees—then RFR is merely acting as a

conduit to pass along the “thing of value” provided by each petition signatory (i.e., their contact

information), at their request and on their behalf, to Governor DeSantis.

       84.     RFR seeks to provide a potential candidate with phone numbers and/or e-mail

addresses of that potential candidate’s political supporters who have signed a petition to him

through RFR’s online portal and wish to provide their contact information to him as a material part

of that expression of political sentiment. In doing so, RFR would be acting similarly to ActBlue,

WinRed, and other political committees major online platforms that lie at the heart of our nation’s

campaign financing system. These entities provide a potential or even actual candidates with the

phone numbers and/or e-mail addresses (even though not legally required to do so) of that



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candidate’s political supporters who have made earmarked, conduit contributions to that candidate

through the ActBlue or WinRed online portal. The FEC is defending a bizarre pay-to-play system

where political contributions and the entities involved in processing them receive greater legal and

constitutional protection than ordinary Americans seeking to engage in pure political speech by

signing a petition without making a political contribution. ActBlue and Winred are not entitled to

greater First Amendment rights than ordinary Americans who do not make contributions and

groups like RFR seeking to help them join together through political petitions.

       85.     The Commission has violated RFR’s constitutional and statutory rights by refusing

to authorize it to act as a conduit in this manner. The Commission also lacks legal and

constitutional authority to bar RFR from spending money from its non-contribution Carey account

to advertise its petition and invite people to sign it, so RFR may provide the signed petition—

including their name and contact information—as a conduit to Governor DeSantis.

                                Entitlement to Injunctive Relief

       86.      RFR has suffered irreparable harm from the FEC’s refusal to recognize RFR’s

unassailable constitutional right to provide its signed petition to Governor DeSantis as a private

citizen, regardless of should he begin “thinking about” running or even more openly exploring the

notion within the scope of the ambiguous testing the waters regulation, and even as a candidate.

This unprecedented interference with protected First Amendment rights of pure political speech

and expressive political association flies in the face of binding precedent, legislative history, and

common sense. Likewise, the FEC’s prohibition on RFR spending funds from its non-contribution

Carey account to advertise its petition and invite people to sign it is a direct restraint on pure

political speech. The harm is accentuated because the petition’s impact will depend in part on the




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timing, within the context of a quick-moving political environment and run up to the presidential

campaign, of when RFR may give it to Governor DeSantis.

       87.     Because the FEC has failed to issue an advisory opinion on the issue of whether

RFR may provide its signed petition to Governor DeSantis before he begins testing the waters for

a potential presidential candidacy, RFR has been wrongfully and arbitrarily deprived of a statutory

“safe harbor” for engaging in such activity under 52 U.S.C. § 30108(c)(1)(A), (2). It has been

chilled from providing the signed petition (or any supplements or updates to the petition) to

Governor DeSantis at this time, before he has begun testing the waters, by the threat of

administrative proceedings and sanctions before the Commission.

       88.     The FEC has issued an advisory opinion affirmatively prohibiting RFR from

providing its signed petition, or any updates or supplements, to Governor DeSantis once he begins

testing the waters or in the event he becomes a candidate. RFR does not have any knowledge, or

involvement in the decision, of when Governor DeSantis will begin testing the waters, or whether

or when he will become a presidential candidate. The prohibitions set forth in the FEC’s advisory

opinion; the statements various Commissioners made during the FEC’s September 15, 2022

hearing in this matter; and the reasonably likely threat of administrative proceedings, civil

penalties, and criminal prosecution have chilled RFR from providing its signed petition with

signatories’ contact information, and/or any supplements or updates, to Governor DeSantis

because the Commission might erroneously conclude he is “testing the waters.” RFR has likewise

been chilled from providing its signed petition with signatories’ contact information. and/or any

supplements or updates, to Governor DeSantis once he begins testing the waters or becomes a

candidate for the Republican nomination for President.




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               a.      RFR wishes to be able to continue amassing signatures for its petition as

long as possible so that it has the greatest potential impact. It will be unable to do so, however, if

Governor DeSantis’ unilateral decision—which may happen at any time, without any advance

warning to RFR—to begin testing the waters and/or become a candidate would make it illegal for

RFR to provide its signed petition to him.

               b.      RFR has concrete plans to continue spending between $25,000 and $50,000

each week—including funds from its non-contribution Carey account—soliciting and collecting

signatures and signatories’ contact information for its petition, even after Governor DeSantis

begins testing the waters and/or becomes a presidential candidate. It will be forced to discontinue

doing so if Governor DeSantis’ unilateral decision—which may happen at any time, without any

advance warning to RFR—to begin testing the waters and/or become a candidate would make it

illegal for RFR to provide its signed petition to him.

       89.     RFR has no remedy at law for:

               a.      the FEC’s refusal to affirm RFR right to provide the signed petition to

Governor DeSantis before he begins testing the waters;

               b.      the FEC’s prohibition on RFR providing the signed petition to Governor

DeSantis either while he is either testing the waters or a candidate; and

               c.      the FEC’s ban on RFR spending funds from its non-contribution Carey

account to fund advertisements to invite people to sign the petition.

       90.     The hardship to RFR of not being permitted to engage in the expressive political

activities set forth in Paragraph 88-89 outweighs the harm to the FEC of being barred from

improperly and unconstitutionally applying the FECA in this context in direct contravention of

binding Circuit Court precedent.

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       91.     The public interest weighs heavily in favor of allowing RFR to provide its signed

petition to Governor DeSantis and continue to fund advertisements from its non-contribution

Carey account to invite people to sign it.

                  This Matter is Capable of Repetition Yet Evading Review

       92.      RFR is reasonably likely to engage in similar petition campaigns to draft

individuals, potentially including Governor DeSantis, to run for federal office in future election

cycles. It is reasonably likely to seek to provide such petitions, supplements, and/or updates to the

petitions to potential candidates before they begin testing the waters, while they are testing the

waters, and after they become candidates. It is reasonably likely to seek to fund such future efforts,

in whole or in part, through its non-contribution Carey account.

                                      CAUSES OF ACTION
                                     COUNT I
                         FIRST AMENDMENT, U.S. Const. amend. I

       93.      Plaintiff realleges and incorporates by reference the allegations contained in the

foregoing paragraphs as if set forth fully herein.

       94.      The FEC’s response to RFR’s advisory opinion request has chilled RFR from

providing its signed petition to Governor DeSantis at any time, including before he begins testing

the waters, while he is testing the waters, or after he becomes a candidate.

       95.     RFR faces a reasonable probability of investigation, administrative proceedings,

and sanctions if it provides its signed petition to Governor DeSantis at any time, including before

he begins testing the waters, while he is testing the waters, or after he becomes a candidate.

       96.     RFR’s fundamental First Amendment rights to engage in political speech and

expressive political association have been violated by the FEC’s response to RFR’s advisory




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opinion request and the reasonable prospect of prosecution if RFR provides its signed petition to

Governor DeSantis.

               a.      RFR has a fundamental First Amendment right to engage in pure political

speech by providing its signed petition to Governor DeSantis, particularly as part of an effort to

draft him as a candidate for President;

               b.      RFR has a fundamental First Amendment right to engage in truthful

expression by providing Governor DeSantis with factual information about individuals who

support his potential or actual candidacy for President and wish to express their support for him,

including their names and contact information as supplied by them;

               c.      RFR has a fundamental First Amendment right to spend funds from its non-

contribution Carey account to fund communications to invite people to sign its petition;

               d.      RFR and the petition’s signatories have a fundamental First Amendment

right to engage in expressive political association by having the petition containing their own

names and contact information as provided by them presented to Governor DeSantis; and

               e.      The petition’s other signatories have a fundamental First Amendment right

to engage in non-anonymous political expression by having their name and contact information

included on the petition provided to Governor DeSantis;

WHEREFORE, Plaintiff RFR is entitled to judgment the FEC’s advisory opinion in Ready for

Ron, A.O. 2022-12 (Sept. 28, 2022), violates the First Amendment, and the FECA’s contribution

limits, 52 U.S.C. § 30116(a)(1)(A), (a)(1)(C), (a)(2)(C); 11 C.F.R. § 110.1(b)(1), (d); 86 Fed. Reg.

at 7868, are unconstitutional as applied to:

       (i) signed petitions to a person to draft them as a candidate or encourage them to remain a

candidate, including the contact information provided by the signatories; and



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       (ii) a political committee’s non-contribution account used to fund communications to invite

people to sign a “draft” petition and/or supplements or updates to the petition.

                              COUNT II
      CHALLENGE TO FEC’S REFUSAL TO ISSUE REQUESTED ADVISORY
    OPINION UNDER THE ADMINISTRATIVE PROCEDURES ACT, 5 U.S.C. § 702

       97.      Plaintiff realleges and incorporates by reference the allegations contained in the

foregoing paragraphs as if set forth fully herein.

       98.      5 U.S.C. § 702 provides, “A person . . . adversely affected or aggrieved by agency

action within the meaning of a relevant statute, is entitled to judicial review thereof.”

       99.      RFR requested an advisory opinion from the FEC confirming its right to provide

its signed petition to Governor DeSantis before he is testing the waters, while he is testing the

waters, and in the event he becomes a candidate, and to fund communications to invite people to

sign the petition in part through its non-contribution account.

       100.     The FEC refused to provide RFR with the relief it sought. The Commission

declined to issue an opinion on whether RFR may provide its signed petition to Governor DeSantis

before he begins testing the waters. It ruled RFR may not provide its signed petition to him while

he is testing the waters or once he becomes a candidate. It further ruled RFR may not spend funds

from its non-contribution Carey account to advertise its petition and invite people to sign it.

       101.     The FEC has denied RFR a statutory “safe harbor” under 52 U.S.C.

§ 30108(c)(1)(A), (2), for RFR’s proposed course of conduct, thereby leaving RFR exposed to the

threat of administrative proceedings and sanctions before the commission, as well as the chilling

effect arising from such threat.




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        102.     The FEC’s refusal to provide RFR with its requested advisory opinion approving

its proposed conduct, as well as its conclusions affirmatively prohibiting most of RFR’s proposed

activities, adversely affected and aggrieved RFR.

        103.     The FEC’s refusal to provide RFR with its requested advisory opinion approving

its proposed conduct, as well as its conclusions affirmatively prohibiting most of RFR’s proposed

activities, were:

                 a.     arbitrary and capricious, and not in accordance with law;

                 b.     contrary to constitutional right;

                 c.     in excess of statutory authority and limitations;

52 U.S.C. § 706(2)(A)-(C).

        104.     This Court should vacate the FEC’s advisory opinion in Ready for Ron, A.O. 2022-

12 (Sept. 28, 2022), and remand for reconsideration in accordance with its ruling.

WHEREFORE Plaintiff RFR is entitled to judgment the FEC’s advisory opinion in Ready for Ron,

A.O. 2022-12 (Sept. 28, 2022), is arbitrary, capricious, not in accordance with law, contrary to

constitutional right, and/or in excess of statutory authority and limitations, and therefore is

unenforceable, vacated, and remanded for reconsideration.

                                    COUNT III
                      DECLARATORY JUDGMENT ACT, 28 U.S.C. § 2201

        105.     Plaintiff realleges and incorporates by reference the allegations contained in the

foregoing paragraphs as if set forth fully herein.

        106.     The Declaratory Judgment Act provides, “In a case of actual controversy within its

jurisdiction . . . any court of the United States. . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

28 U.S.C. § 2201

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        107.      RFR seeks a declaration of its right to provide its signed petition, as well as any

supplements and updates, to Governor DeSantis, regardless of whether he is testing the waters or

a candidate. It further seeks a declaration of its right to spend money from its non-contribution

Carey account to fund communications inviting people to sign the petition.

        108.      RFR has a live, concrete controversy with the FEC concerning the proper

interpretation of the U.S. Constitution and Federal Election Campaign Act with regard to its right

to expend funds from its non-contribution Carey account to solicit and gather signatures for its

petition, as well as its right to provide its signed petition to Governor DeSantis.

WHEREFORE, Plaintiff RFR is entitled to a declaratory judgment:

        (i)       The FEC’s advisory opinion in Ready for Ron, A.O. 2022-12 (Sept. 28, 2022), is

invalid and unenforceable;

        (ii)      The First Amendment and Federal Campaign Finance Act protect the right of RFR

to provide its signed petition to Governor DeSantis, including the names and contact information

of its signatories, regardless of whether he has begun testing the waters or become a candidate;

and

        (iii)     The First Amendment and Federal Campaign Finance Act protect the right of RFR

to spend money from its non-contribution account to fund communications inviting people to sign

the petition.

                                     COUNT IV
                       EQUITABLE CLAIM FOR INJUNCTIVE RELIEF

        109.      Plaintiff realleges and incorporates by reference the allegations contained in the

foregoing paragraphs as if set forth fully herein.

        110.      The U.S. Supreme Court has held, “[F]ederal courts may in some circumstances

grant injunctive relief against . . . . violations of federal law by federal officials. . . . The ability to

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sue to enjoin unconstitutional actions by state and federal officers is the creation of courts of equity,

and reflects a long history of judicial review of illegal executive action, tracing back to England.

It is a judge-made remedy.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015)

(internal citations omitted).

        111.     This Court should grant RFR injunctive relief against the FEC, barring the FEC

from enforcing contribution limits, 52 U.S.C. § 30116(a)(1)(A), (a)(1)(C), (a)(2)(C); 11 C.F.R. §

110.1(b)(1), (d), or other associated restrictions against RFR for:

                 a.     providing its signed petition, including the names and contact information

for its signatories, as well as any updates or supplements, to Governor DeSantis regardless of

whether he is testing the waters or a candidate; or

                 b.     funding expenses associated with the petition, including but not limited to

communications notifying people about the petition and inviting them to sign it, through its non-

contribution Carey account.

        112.     RFR faces a reasonable threat of enforcement by the FEC for engaging in such

conduct.

        113.     RFR faces irreparable injury from the chilling effect on the exercise of its

constitutional and statutory rights to engage in political expression and association.

        114.     RFR has no remedy at law for the violation of its constitutional and statutory rights

to engage in political expression and association.

        115.     The hardship to RFR of being unable to provide its signed petition to Governor

DeSantis at a time of its choosing, and the related prohibition on paying for expenses associated

with the petition from its non-contribution Carey account, outweighs any harm to the FEC from

being unable to enforce such unconstitutional and illegal restrictions.



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        116.      There is a strong public interest in allowing RFR to provide its signed petition to

Governor DeSantis at a time of its choosing, regardless of whether Governor DeSantis has begun

testing the waters or become a candidate. The public likewise has a strong interest in allowing RFR

to fund communications from its non-contribution account to notify people about the petition and

invite them to sign it.

WHEREFORE, Plaintiff RFR is entitled to preliminary and permanent injunctions enjoining the

Commission and its agents from:

        (i)       enforcing 52 U.S.C. § 30116(a)(1)(A); 11 C.F.R. § 110.1(b)(1), or any other

provision of the Federal Election Campaign Act against RFR for providing its signed petition

(including signatories’ names and contact information), as well as any supplements or updates, to

Governor DeSantis at a time of its choosing, regardless of whether he has begun testing the waters

or become a candidate;

        (ii)      enforcing 52 U.S.C. § 30116(a)(1)(C), (a)(2)(C); 11 C.F.R. § 110.1(d) or any other

provision of the Federal Election Campaign Act against RFR for funding expenses relating to its

petition, including but not limited to communications notifying people about its petition and

inviting them to sign it, through its non-contribution Carey account;

        (iii)     conducting any investigation, initiating any administrative or other proceedings,

making any criminal referral, imposing any fine or other sanction, or otherwise attempting to

enforce the provisions identified above against Plaintiff or any other people, groups, or entities for

engaging in such conduct.

                             COUNT V
       FEDERAL ELECTION CAMPAIGN ACT, 52 U.S.C. § 30116(a)(1)(A), (a)(8)

        117.      Plaintiff realleges and incorporates by reference the allegations contained in the

foregoing paragraphs as if set forth fully herein.

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       118.     52 U.S.C. § 30116(a)(1)(A) provides in relevant part, “[N]o person shall make

contributions . . . to any candidate and his authorized political committees with respect to any

election for Federal office which, in the aggregate, exceed $2,000.”

       119.     52 U.S.C. § 30116(a)(8) provides in relevant part, “[A]ll contributions made by a

person, either directly or indirectly, on behalf of a particular candidate, including contributions

which are in any way earmarked or otherwise directed through an intermediary or conduit to such

candidate, shall be treated as contributions from such person to such candidate.”

       120.     RFR seeks a declaration of its right under 52 U.S.C. § 30116(a)(1)(A) and 11 C.F.R.

§ 110.1(b)(1) to provide its signed petition to Governor DeSantis, including the names and contact

information for its signatories, at a time of its choosing, including before he is testing the waters,

while he is testing the waters, or while he is a candidate.

       121.     RFR seeks a declaration of its right under 52 U.S.C. § 30116(a)(1)(C), (a)(2)(C)

and 11 C.F.R. § 110.1(d) to pay for expenses associated with the petition from its non-contribution

Carey account.

       122.     Either in addition, or in the alternative, RFR seeks a declaration of its right to act

as a conduit under 52 U.S.C. § 30116(a)(8) to transmit names and contact information from the

petition’s signatories to Governor DeSantis, without having such information operate as a

contribution from RFR itself.

       123.     RFR seeks an injunction barring the Commission from enforcing 52 U.S.C.

§ 30116, 11 C.F.R. § 110.1 or related provisions of the Federal Election Campaign Act against it

for:




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                a.       providing its signed petition to Governor DeSantis, including the names and

contact information for its signatories, at a time of its choosing, including before he is testing the

waters, while he is testing the waters, or while he is a candidate; or

                b.       funding expenses relating to its petition, including but not limited to

communications notifying people about its petition and inviting them to sign it, through its non-

contribution Carey account.

WHEREFORE, Plaintiff RFR is entitled to injunctive and declaratory relief under 52 U.S.C.

§ 30116(a)(1), (a)(8).

                                COUNT VI
          CHALLENGE TO FEC’S “TESTING THE WATERS” REGULATION
          UNDER THE ADMINISTRATIVE PROCEDURES ACT, 5 U.S.C. § 702

       124.     Plaintiff realleges and incorporates by reference the allegations contained in the

foregoing paragraphs as if set forth fully herein.

       125.     5 U.S.C. § 702 provides, “A person . . . adversely affected or aggrieved by agency

action within the meaning of a relevant statute, is entitled to judicial review thereof.”

       126.     RFR requested an advisory opinion from the FEC confirming its right to provide

its signed petition to Governor DeSantis, including while he is testing the waters for a potential

candidacy for President.

       127.     The Commission ruled RFR may not provide its signed petition to Governor

DeSantis while he is testing the waters. The Commission’s determination rested upon its

interpretation of its “testing the waters regulation,” 11 C.F.R. § 100.72(a).

       128.     The “testing the waters” regulation declares the FECA’s contribution limits apply

to transfers or donations to an individual who is “testing the waters” for a potential federal




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candidacy, see 11 C.F.R. § 100.72(a), even though he or she has not yet become a candidate under

the FECA, 52 U.S.C. § 30101(2) (defining the term “candidate); accord 11 C.F.R. § 100.3(a).

       129.     By their express terms, the FECA’s contribution limits unambiguously apply only

to a person who has become a “candidate” under the FECA’s definition of that term. 52 U.S.C.

§ 30116(a)(1)(A); 11 C.F.R. § 110.1(b)(1).

       130.     The “testing the waters” regulation, 11 C.F.R. § 100.72(a) applies contribution

limits to certain non-candidates despite the complete absence of any statutory authority.

Accordingly, § 100.72(a) is arbitrary, capricious, not in accordance with law, in excess of statutory

authority and limitations, and unenforceable. 52 U.S.C. § 706(2)(A), (C).

       131.     RFR is entitled to provide its signed petition with its signatories’ contact

information to Governor DeSantis, regardless of whether he is testing the waters for a potential

federal candidacy.

WHEREFORE Plaintiff RFR is entitled to judgment 11 C.F.R. § 100.72 is arbitrary, capricious,

not in accordance with law, and/or in excess of statutory authority and limitations, and therefore

is unenforceable and vacated.

                                    PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for the following relief:

       1.       Preliminary and permanent injunctions prohibiting the FEC from applying 52

U.S.C. § 30116, or any regulations implementing that statute against RFR:

                a.     for providing its signed draft petition, including the names and contact

information for its signatories, to Governor DeSantis, at any time, including before he is testing

the waters for a potential federal candidacy, while he is testing the waters, and in the event he

becomes or is deemed a candidate; or



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               b.         funding expenses relating to its petition, including but not limited to

communications notifying people about its petition and inviting them to sign it, through its non-

contribution Carey account.

       2.      A declaratory judgment holding:

               a.         52 U.S.C. § 30116(a) and 11 C.F.R. § 110.1(b) are unconstitutional as

applied to a political committee’s provision of a signed political draft petition, including the names

and contact information of its signatories, to any person, regardless of whether they are testing the

waters or a candidate;

               b.         52 U.S.C. § 30116(a) and 11 C.F.R. § 110.1(d) are unconstitutional as

applied to prohibiting a political committee’s expenditure of funds which had been raised without

regard to contribution limits for expenses relating to the petition, including but not limited to

political communications notifying people about the petition and inviting them to sign it;

               c.         52 U.S.C. § 30116, as a matter of statutory interpretation, is inapplicable to

a political committee’s provision of a signed political draft petition, including the names and

contact information of its signatories, to any person, regardless of whether they are testing the

waters or a candidate;

               d.         52 U.S.C. § 30116 does not limit transfers to a person who is not a

candidate, including individuals who have not yet begun testing the waters and individuals who

are testing the waters;

               e.         52 U.S.C. § 30116(a)(8) allows RFR to act as a conduit to pass signatures

and contact information from a petition’s signatories—at the request of the signatories and with

their approval—to the petition’s recipient; and




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               f.      11 C.F.R. § 100.72 is void and unenforceable, and does not preclude RFR

from providing its signed petition to Governor DeSantis, regardless of whether he is “testing the

waters” for a potential federal candidacy.

       3.      An order vacating and setting aside:

               a.      the FEC’s advisory opinion in Ready for Ron, A.O. 2022-12 (Sept. 28,

2022), and

               b.      the FEC’s “testing the waters” regulation, 11 C.F.R. § 100.72.

       4.      Costs and attorneys’ fees pursuant to the Equal Access to Justice Act, as well as

any other applicable statute or other authority; and

       5.      Such other relief as this Court deems just and equitable.




       Dated this 27th day of October, 2022.

                                               Respectfully submitted,

                                                       /s/ Dan Backer
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